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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF OHIO
                            EASTERN DIVISION

United States of America

     v.                                      2:17-cr-268-1

Christopher A. Braden

                                     ORDER
     There being no objections, the court hereby adopts the Report
and Recommendation of the magistrate judge (Doc. 37) that the
defendant’s guilty plea be accepted.                The court accepts the
defendant’s plea of guilty to Count 3 of the indictment, and he is
hereby adjudged guilty on that count.             The court will defer the
decision   of   whether    to   accept    the   plea   agreement     until       the
sentencing hearing.


Date: January 24, 2018                  s\James L. Graham
                                  James L. Graham
                                  United States District Judge
